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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                      Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                           Debtor.
--------------------------------------------------------------x
              STIPULATION AND ORDER BETWEEN TRUSTEE AND VIGOR
           WORKS LLC EXTENDING THE TRUSTEE’S TIME TO ASSUME OR
                REJECT THE CONTRACT WITH VIGOR AND ITS RELATED
            SUBCONTRACTS THROUGH AND INCLUDING OCTOBER 3, 2022

          This stipulation (“Stipulation”) is entered into by and between Salvatore LaMonica, solely

in his capacity as the Chapter 7 Trustee (“Trustee”) of the bankruptcy estate (“Estate”) of BMT

Designers & Planners, Inc., fdba BMT D&P, fdba BMT fdba BMT DAS US (“Debtor”), and the

Vigor Works LLC (“Vigor, along with the Trustee, are “Parties”) to extend the Trustee’s time to

assume or reject the contract with Vigor and its related subcontracts for a period of sixty (60) days

through and including October 3, 2022 pursuant to 11 U.S.C. § 365(d) (“Bankruptcy Code”), and

for related relief as set forth herein.


                                                  RECITALS

i.        Procedural Background

          A.     On February 1, 2022 (“Petition Date”), the Debtor filed a voluntary petition under

Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court, Southern District of

New York (“Court”).

          B.     On or about the Petition Date, the Trustee was appointed as the interim Chapter 7

Trustee of the Estate, has since duly qualified and is the permanent Trustee administering this

Estate.
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       C.      On May 6, 2022, this Court entered an Order Authorizing the Chapter 7 Trustee to

Operate the Debtor’s Business and Pay Certain Operating Expenses of the Estate pursuant to

Bankruptcy Code section 721 until August 1, 2022 [ECF Dkt. # 72].

       D.      The last day to file claims against the Estate was May 31, 2022 (“Bar Date”).

       E.      Pursuant to an Order entered on June 24, 2022 [ECF Dkt. # 96], the Trustee’s time

to assume or reject executory contracts was extended until August 3, 2022 under Bankruptcy Code

section 365(d)(1).

       F.      Pursuant to the so-ordered stipulation entered on May 24, 2022 [ECF Dkt.

# 76], the Court approved the extension of time to assume or reject the Vigor Contract

through August 3, 2022.

ii.    The Vigor Contract and Related Subcontracts

       G.      Prior to the Petition Date, on or about September 28, 2017, the Debtor and Vigor

entered a license agreement, as amended and including addendums (“License Agreement”)

whereby, the Parties worked together to offer their combined vessel design and vessel construction

expertise to the United States Army in connection with its replacement of its fleet of Landing Craft

Mechanized 8 Mod I and II vessels with a new vessel known as the Maneuver Support Vessel

(Light) (“MSV(L)”).

       H.      On September 28, 2017, the United States Army awarded Contract W56HZV-

1 7-D-0086 (“Prime Contract”) to Vigor for the design and delivery of the MSV(L).

       I.      Contemporaneously with the execution and delivery of License Agreement,

the Parties, among other things, entered into a Master Subcontract Agreement (MSV(L))

(as it was amended in accordance with its terms, the (“MSVL Subcontract”, along with the

License Agreement are collectively “Vigor Contract”) that describes the terms and
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conditions under which the Debtor supported Vigor in connection with the Prime Contract,

including, creating and modifying the drawings and designs of the MSV(L).

       J.      In addition, the Debtor entered into multiple subcontracts with various third

parties to perform services on behalf of the Debtor under, and related to, the Vigor

Contract and Prime Contract, of which there were approximately eleven (11) active

subcontracts as of the Petition Date (“Subcontracts”).

       K.      The Parties have again agreed to extend the Trustee’s time to assume or reject the

Vigor Contract and its related Subcontracts for a period of sixty (60) days through and including

October 3, 2022 as set forth herein.

                                  TERMS AND CONDITIONS

       1.      The recitals above are incorporated by reference as if set forth at length herein and

the Parties agree to the accuracy thereof.

       2.      The Trustee’s time to assume or reject the Vigor Contract and any and all related

Subcontracts for a period of sixty (60) days through and including October 3, 2022, without

prejudice for the Parties to agree to further extend the Trustee time.

       3.      The Trustee also reserves the right to seek a further extension from the Court

pursuant to Bankruptcy Code section 365(d)(1).

       4.      Nothing herein shall constitute a waiver of any all claims and/or defenses by either

Party relating to or deriving from the Vigor Contract, the Subcontracts and/or the Prime Contract.

       5.      If the Court does not approve this Stipulation, then the Stipulation shall be deemed

null and void and of no force and effect, and the Parties to this Stipulation shall retain all rights,

claims and/or defenses that they may have against each other.
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       6.      This Court shall retain exclusive jurisdiction over the subject matter of this

Stipulation in order to resolve any dispute in connection with the rights and duties specified

hereunder.

       7.      This Stipulation may be executed in any number of counterparts, any and all of

which shall be deemed to be original. The Parties shall be bound by their signatures transmitted

by facsimile or electronic mail (in pdf format) as if such signatures were original “ink” signatures.


 Dated: July 14, 2022                        LaMONICA HERBST & MANISCALCO, LLP
        Wantagh, New York                    Counsel to Salvatore LaMonica, Chapter 7 Trustee

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 Dated: July 19, 2022                        K&L GATES, LLP
        Seattle, Washington                  Counsel to Vigor Works, LLC

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SO ORDERED, on the __ day of July, 2022


_____________________________________
Honorable Martin Glenn
Chief United States Bankruptcy Judge
